   Case 3:21-cv-06118-JD     Document 127-1   Filed 08/10/23   Page 1 of 2




           Appellate Division of the Supreme Court
                     of the State of New York
                    First Judicial Department


     I, Susanna M. Rojas, Clerk of the Appellate Division of the
Supreme Court of the State of New York, First Judicial
Department, do hereby certify that

                              Oscar Shine
was duly licensed and admitted to practice as an Attorney and
Counselor at Law in all the courts of this State on July 13, 2015, has
duly taken and subscribed the oath of office prescribed by law, has
been enrolled in the Roll of Attorneys and Counselors at Law on
file in this office, is duly registered with the Administration Office
of the Courts, and         according to the records of this Court is
currently in good standing as an Attorney and Counselor-at-Law.



                              In Witness Whereof, I have hereunto set
                              my hand in the City of New York on
                              April 27, 2023.




                                          Clerk of the Court




CertID-00116773
    Case 3:21-cv-06118-JD                Document 127-1             Filed 08/10/23     Page 2 of 2


                   Supreme Court of the State of New York
                    Appellate Division, First Department
                                             ROLANDO T. ACOSTA
                                                PRESIDING JUSTICE
 SUSANNA MOLINA ROJAS                                                                   MARGARET SOWAH
      CLERK OF THE COURT                                                                DEPUTY CLERK OF THE COURT




To Whom It May Concern


       An attorney admitted to practice by this Court may request a certificate of good
standing, which is the only official document this Court issues certifying to an
attorney's admission and good standing.


       An attorney's registration status, date of admission and disciplinary history may
be viewed through the attorney search feature on the website of the Unified Court
System.


       New York State does not register attorneys as active or inactive.


      An attorney may request a disciplinary history letter from the Attorney
Grievance Committee of the First Judicial Department.


     Bar examination history is available from the New York State Board of Law
Examiners.


       Instructions, forms and links are available on this Court's website.




                                                            Susanna Rojas
                                                            Clerk of the Court




Revised October 2020



                           27 MADISON AVENUE      NEW YORK, NEW YORK 10010-2201
                      TEL.: (212) 340 0400    INTERNET: WWW.NYCOURTS.GOV/COURTS/AD1/
